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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


In re: PHARMACEUTICAL INDUSTRY                           )
AVERAGE WHOLESALE PRICE                                  )   MDL No. 1456
LITIGATION                                               )
                                                         )   Civil Action No. 01-12257-PBS
                                                         )
THIS DOCUMENT RELATES TO:                                )   Subcategory No. 06-11337-PBS
                                                         )
United States of America ex rel. Ven-a-Care of           )   Hon. Patti B. Saris
the Florida Keys, Inc. v. Abbott Laboratories,           )
Inc., Civil Action No. 06-11337-PBS;                     )
                                                         )
United States of America ex rel. Ven-a-Care of           )
the Florida Keys, Inc. v. Dey, Inc., et al., Civil       )
Action No. 05-11084-PBS; and                             )
                                                         )
United States of America ex rel. Ven-a-Care of           )
the Florida Keys, Inc. v. Boehringer Ingelheim           )
Corp., et al., Civil Action No. 07-10248-PBS             )

   DECLARATION OF SUSAN SCHNEIDER THOMAS SUBMITTING EXHIBITS
  RELIED UPON IN VEN-A-CARE OF THE FLORIDA KEYS, INC.’S COMBINED
 OPPOSITION TO MOTIONS TO DISMISS FILED BY ABBOTT, DEY AND ROXANE

       I, Susan Schneider Thomas, do hereby declare as follows:

       1.      I am a shareholder at the firm of Berger & Montague, P.C., co-counsel for

plaintiff Ven-A-Care of the Florida Keys, Inc.

       2.      Attached hereto as Exhibit A is a listing of the exhibits filed with Ven-A-Care of

the Florida Keys Inc.’s Combined Opposition to Motions to Dismiss Filed by Abbott, Dey and

Roxane. Those exhibits, incorporated herein by reference, are true and correct copies of the

documents described in the attached list.




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       3.     I declare under penalty of perjury the foregoing is true.


Dated: November 3, 2009                      Respectfully submitted,
Philadelphia, PA
                                             /s/        Susan Schneider Thomas
                                                   Susan Schneider Thomas
                                                   BERGER & MONTAGUE, P.C.
                                                   1622 Locust Street
                                                   Philadelphia, PA 19103
                                                   Tel: 215-875-3000




                               CERTIFICATE OF SERVICE
       I hereby certify that on November 3, 2009, I caused a true and correct copy of the
Declaration of Susan Schneider Thomas Submitting Exhibits Relied Upon in Ven-A-Care of the
Florida Keys, Inc.’s Combined Opposition to Motions to Dismiss Filed by Abbott, Dey and
Roxane to be served via LEXIS File & Serve electronic filing service pursuant to CMO #2 in this
case.




                                             .     /s/ Susan Schneider Thomas   .




                                                    Susan Schneider Thomas
                                                    Berger & Montague, P.C.




                                                   2
